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                                                     Judge John W. Darrah
                                                     Magistrate Judge Young B. Kim
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                       U.S. Code (state, county, or mrmicipal defendants)

                       COMPLAINT TJITIDER THE CONSTITUTION (I'BIVENS" ACTION), TITLE
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                       OTHER (cite stahrte if known)
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       Plaintiff(s)t

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       (In A           ,  place the full name of the first defendant in the first blanlq his or her official
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       fortwo          itional defendants is provided in B and C.)

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m.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any sfite or federel
     court in the United Statec: NA

     A.     Name of case and docka numbr:


     B.     Ap,proximate date of filing lawsuit:

     C.     List all plaintiffs (if you had co-plaintiffs), including any aliases:




     D.




            Court in which the lawsuit wasfilod (if federal cotrt name the district if state @urt,
            name the county):

     F.     Name ofjudge to whom case was assigned:


     G.     Basic claim made:




     H.     Disposition of this case (for exanrple: Was the          dismissed? Was it appeald?
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 rv.     Statemen( of Claim:
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         State here           briefly as possible the facts of your case. Describe how each defendant is
         involved,                   names, dates, and places. Do not give any legal arguments or cite any
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      Relief:

      State   bri              what you want the court to do for you. Make no legal arguments. Cite
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VI.   The                demands that the case be   tied by   a   jury. N    YES      trNo

                                                              CERTIFICATION

                                  By siguing this Complaint, I certi$ that the facts        stated in this
                                  Complaint   are tnre to the best  of my   knowledge,   information   and
                                  belief. I understand that if this certification is not @rre,ct, I may be
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                                  (Signature of plaintiff or plaintiffs)

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                          COOK COUNTY SHERIFF'S OFFICE
                          (Oficina delAlguacil del Condado de Cook)
                                                                                                                                           fl   cnrevnruce        !   Nolr-orurvRNcE   (REQUEST)


                          INMATE GRIEVANCE FOR
                          (Formulario de Queja del Preso)




              GRIEVANCE FORM PROCESSED AS:                                                                     REFERRED TO:

                     E    EMERGENCYGRIEVANCE                                                                     E cEnunT HEALTH SERVICES
                     E    GRIEVANCE

                     E r.toru-onrevANcE                 (REQUEST)


                     Prognm Seruices SupeNisor Approving Non-Grievan@ (Request) Signature




                                             * An inmate wishing to lile a grievance is required to do so within 15 days of the event he/she is grieving.
                     -
                     lnmate Disciplinary Hearing Board decisions cannot be grieved or appealed through the use of an lnmate Grievance Request / Response / Appeal Form.
               *
                 When a grievance issue is processed as a NON-GRIEVANCE (REQUEST), an inmate may re-submit the grievance issue after '15 days to obtain a "Control Number'
                                                           if there has been no response to the request or the request is deemed unsatisfactory.
                                             *
                                           Un preso que desea llenar una queja, se le requiere que lo haga dentro de los 15 dias despues del incidente.
           r Las
                 decisiones del Comitd Disciplinario de los preso, no podrdn ser cuestionadas o apeladas a travds del uso del Fornulario de Quejas / Respuesta / Forna de Apelaci1n.
             .
               Cuando una queja se procesa como una QUEJAS NO (PETtCl6$, un preso podria re-someter una Queja despues de los 15 dias para recibir un'Nunero de Control',
                                                           ya sea porque no hay una respuesta o porque la respuesta es insatisfactoria.

                                          PLEASE   INCLUDE:         Date of    lncident -            Time of lncident           Specific Location of lncident
                                          (Por Favor,   lncluya:    Fecha Del lncidente      -       Hora Del lncidente         Lugar Especifico Del lncidente)




 ACTION THAT YOU ARE REQUESTING (Acci6n que esta solicitando\ r




 NAME OF STAFF OR INMATE(S) HAVING INFORMATION REGARDING THIS COMPLAINT;
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 CRW / PLATOON COUNSELOR (Print):                                                                                                          DATE CRWPLATOON COUNSELOR RECEIVED


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 SUPERINTENDENT / DIRECTOR / DESIGNEE (PTint):




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        Thdmas J. Dart                                                                           Dr. Nneka Jones
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                                                   RECORpS OI'FICE
                                                     2700 S. Crlifornie Avcnue
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                                         SUBJDCT'SNAME

        DATE OF  BIRTII, ,o -, , * O
                                  3s5-3o-zt7f
       ,,SOCIAL SECURIry NUMBER:     415#6
                                           =LfJ
        Pursuant to your request the following information is submitted:
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        Date entered in   CCDOC: 7 -/-/r'
        Date Released:                                              Date Released:

        Case I Docket #          ./4-.fZ/ t Woe /                    Case   lDocket#

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        Next Court Date:                                         Date:
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        Signature of P.ersonnel Completing foiut
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    Case: 1:16-cv-05096
          1:16-cv-05096 Document
                        Document #:
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                               DeplnrneNT oF Verenans Arrerns
                                    Records Management Center
                                           P.O. BOX 5020
                                   St. Louis Missouri 631{5-0020



December 22,2015

                                                           In Reply Refer   To: 376l272lsKl
ROBERT R SERRITELLA                                                             c )o( w7 709
20t40904026
POST OFFICE BOX O89OO2
DIVISION IO.4A-14
CHICAGO IL 60608-9002

Dear   Mr. SERRITELLA:

Re: Privacy Act Request

This letter acknowledges receip of your Privacy Act Request dated 1210412015. In your letter,
you are requesting the following:

All Military medical records

All VA medicaUclinical records located in claims folder

The number in the upper right hand corner is your case number. Please refer to this number
when communicating withour office about your request.

We will begin searching for records responsive to your request and notifi you of the results of
the search and our next steps in processing your request. We will grant you rrccess to the
requested records, ffound,providing the records are not exempted from disclosure by law. Any
releasable sections ofthe requested records shall be provided to you after redaction ofthe parts
that are exempt.

Your request will be processed in the order of receip. You may expect to receive a response as
soon as possible. This office will be providing your records on a comBact disc (CD) for use on
yotr personal computer. Only records of 10 pages or more are eligible for CD printing. The
CD can be viewed on all computers through the use of Adobe Reader software, which is
available online for free.

To request your responsive records on paper, please mail your request to: ATTN : Paper Copy
Request at the address above or you may far your requestto 314-679-3732.

Our agency may not be the custodian of some of the records you requested such as official
personnel records, medals, service medical records dated prior to 1992, etc. As a result, we have
referred your request to the appropriate agency marked on the attached page to provide a
response for any records which may not be in the records in our holdings.
     Case:
     Case: 1:16-cv-05096
           1:16-cv-05096 Document
                         Document #:
                                  #: 6
                                     1 Filed:
                                       Filed: 08/04/16
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                                                            14 of
                                                               of 18
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Thank you for your interest in the Department of Veterans Affairs. Customer service is very
important to us. If you have questions or concems regarding your request for records underthe
Privacy Act or Freedom of Information Act, please contact our agency at t-888-533-4558.
Please refer to,the assigned case number so we may easily locate your information.

If you have questions or concerns regarding your entitlement to VA benefits or the status of your
claim, please contact the VANational Call Center at l-800-827-1000.

Sincerely,


Kdflq 4qati*
Kathy Austin
Privacy Olficer
Chief, Customer Seryice Division

Enclosures
             Case:
             Case: 1:16-cv-05096
                   1:16-cv-05096 Document
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                                          #: 6
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                                                    EPARIII/ENr CF\ETERAi\ISAFFARS
                                                     Records Management Center
                                                            P. O. Box 5020
                                                       St. Louis, Missouri 631 15


               Air Force Personnel Center                                                         U.S. Coast Guard
               HQ AFPC/DPSSRP 550C                                                                Health Safety & Worklife
               Steet West, Suite 19 Radolph                                                       Service Center
               AFB,TX78t5o4.72t                                                                   Attn: Central Cell
                                                                                                  300 Main Street Suite 1000
               Ndional Archives & Records                                                         Norfolk, VA 23510
               Administration
               Old Militaryand Civil Records                                                      Commanrder,Ccrc-afur-3
               (NWCTB-Milihry)                                                                    USCGPemonnelConmand
               Texnnl Services Dvision                                                            4200 Wilson BM., Suite I 100
               700 Pemnsylvania Ave., N.W.                                                        Arlingtonu Y A 22203 -l&M
                Washington, DC 2040&0001
                                                                                                  Headquafi€rs U.S. Marine Corps
               Air Reserve Personnel Center /DSMR                                                 Personnel lvlanageffreflt Sryport Brarch
               HQ ARPC/DPTG                                                                       (MMSB-IO) 2008 Elliot Road
                18420 E. Silver Creek Ave.,                                                       Quantico, Y A 22134-5039
               Blds390IIS 68
               BuckleyAFB, CO 80011                                                               National Personnel R*ords Cent€r
                                                                                                  (Militry Personnel Records)
               U.S. Army Human Resouces Command                                                   #l ArchivesDrive
               www.hrc.army.mil                                                                   St. touis, MO 63138-1002
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               DMsion of Commissioned Corps Officer                                               www.archives. eovfu ete,ranyev€fu ecV
               Support
               ATTN: Records Officer                                                              The Adjutant General
                I 101 Wooton Padsray, Plaza I-evel" Suite                                         (ofthe apg)pnate        stat€, DC,   orPR)
                100 Rockville,      MD 20852
                                                                                                 Marine Forces Reserte 4400
               AF STR Processing Center                                                          Dauphine St. New Orlems,
               3370 Nacogdoches Road, Suite 116                                                  r-A70146iw
               San   AntimioTXTS2IT
                                                                                                 Navy Personnel Comnad @ERS3 128)
               AMEDD (ARI\4!                                                                     57?0lntegrity Drive
               3370 Nacogdoches Road, Suite 116                                                  Mllington, TN 38055-3          12
               San   AntonioTX78217

               Navy Medicine Recods Activity
               (NI!RA) BLJMED Detadment St
               Louis 4300 Goodfellow Blv4 Bldg.
               103 St. Louis, MO 63120




The Privacy Act of 1974 docs not perzrit the rclease of a social sccurity number or otber personal information to lhe public without the authorization
of lte veteran conceroed. Thercforc, if epplhfile, penond drta pertaining to other individuab havc been deletod firom the enclosed documents
MilitaryCase:
         Personnel Records, SF-l E0                                                Page I of3
        Case: 1:16-cv-05096
              1:16-cv-05096 Document
                             Document #:
                                      #: 6
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                                                  05/09/16 Page
                                                           Page 16
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  Miliiary Record Requests Using Standard Form 180 (SF-
   1 80)
                                                                                               -l
  Veterans or next-of-kin of deceased veterans can use the     : - O"", *"L, r*vr o*i
  online order form at vetrecs.archives.gov (or use the SF- i [a"*{ Registration Cards
                                                                                  "r   ontine.
  180). Archival requests may also be processed online (or via i ,*t
                                                                                                                    i

                                                                                                                    I
                                                                                             . .-i
  the SF-180).

        .   Obtain and Fillout Standard Form 180 (SF-180)
        .   Or Write a Letter to Request Records




  There are several ways to obtain an SF-180. You can:

    1   . Download and print        a copy of t}te SF-180 in PDF   fomrat

               . You need access to a printer and the Adobe Acrobat Reader soflvvare (see link below).
               The form is a total of 3 pages.
               . The SF-180 is formatled for letter size paper (8.5" x 11"). lf your printer can not
               accommodate this, select 'shink to lit" when the Adobe Acrobal Reader 'Pdnt" dialog box
               aPpears.
               .  This is also a fillable version of the SF-180. lt will allow you to type the needed information
               into the form using your keyboard. You will still need to print, sign and mail the form.
               Otherwise, it works the same as stated above.


                   Download form SF-'l80
                   to mail or fax your request.




            \Mere to Retum the Form:
               . Review the tables on page 3 of SF 180 to identify the corect location of the record you
               need (based on branch of service, dates of separation, and type of record)
               .    send the completed form to the address identified on the table

    2. Gontact Us to order the form through the mail
                National Pensonnel Records Center
                1 Archives Drive
                St. Louis, Missouri 63138


  Other Ways to Obtain the SF-180:


        From the Department of Defense
                                                                                                                         Prr5<-rf
        From Federal lnformation Centers
                                                                                                                        f'paznvctE
                                                                                                                        Stft-anZz--*
        From local Veterans Administration offices


        Fror r"t"r"n"      service organizations




http://www.archives.gov/veterans/military-service-records/standard-form-180.html                                              U6l20t6
MilitaryCase:
         Personnel Records, SF-180
              1:16-cv-05096   Document                                              Page2 of3
        Case: 1:16-cv-05096   Document #:
                                       #: 6
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                                            Filed: 08/04/16
                                                   05/09/16 Page
                                                            Page 17
                                                                 17 of
                                                                    of 18
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 The SF 180 mqy be photocopied as needed. Please submit a separate SF 180 for each individual
 whosq, records are being requesled.


 a
 lf you are not able to obtain a SF-180, you may still submit a request for military records. Requests
 must contain enough information to allow us to identiry the record from among the more than 70
 million on file at the NPRC. For example, if you are requesting an Official Military Personnel File
 (OMPF), please include as rnuch of the following information as possible:

       . The veteran's c,omplete name used while in service
       . Service number or social security number
       .   Branch of service
       .   Dates of service
       .   Date and place of birth may also be helpful, especially if the service number is not known
       .   lf the request pertains to a record that may have been involved in the 1973 fire, also include:
             .   Place of discharge
             .   Last unit of assignment
             .   Place of entry into the service, if known.

  Ptease submit a separate request (either SF 't80 or letter) for each individual whose records are being
  requested.

  Pfease Note: Next-of-kin (the un-remanied widow or widower, son, daughter, father, mother, brother
  or sister of the deceased vetenn) must provide proof of death of the veteran, such as a copy of the
  death certificate, a letter from the funeral home or a published obituary.

  Additional information is required if you are requesting clinical or medical treatment records (see
  Federal Records).




           to Submit Requests:

     WuIT IS 7,,E DTFFEREflCE BETWEEil EOERIIL AilD ARCIIWAL REC&DS? Leam more

  Federal law [5 USC 552a(b)] reguires that all written requests for Federal (non-archival) records and
  information be eigned (in cursive) and dated (within the last year).

  You may submit more than one requesl per envelope or fax, but please submit a separate request
  (either SF 180 or letter) for each iMividual whose records are being requested.

       .   Mail a letter or Standard Fomr (SF) 180, Request Pertaining to Military Records to:

       National Personnel Records Center
       1 Archives Drive
       St. Louis, MO 63138

       .   Fax a letter or Standard Form 180 to: 314-801-9195

  The Centerwill respond in writing by U.S. Mail.


  [OrOer
             rrocess-                                                                                        I
                                                                                                             !




  Response time for records requested from the National Personnel Records Center (NPRC) varies and
  is dependent upon the complexity of your request, the availability of records and our workload. Please
  do not send a follow-up request before 90 days have elapsed, as it may cause further delays. Vvhile
  the NPRC works aclively to respond to each request in a timely fashion, the Center receives




http://www.archives.gov/veterans/military-service-records/standard-fomr-180.html                                 U6l20t6
MilitaryCase:
         Personnel Records, SF-180
        Case: 1:16-cv-05096
              1:16-cv-05096 Document
                              Document #:
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                                                            Page 18
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 approximately 4,000 - 5,000 requests per day. We are responding to requests for separation
 docupents Wilfrin tO days aboul 92% of the time. However, requests that involve reconstruction efforts
 due to the 1973 Fire, or older records which require extensive search efforts, may take 6 months or
 more to complete.



 Fmergency Reque,st#nilDeadlinesr                                                                                     :
                                                                                                                      !




 lf your request is urgent (e.9. upcoming surgery, funeral, etc.) and there is a deadline associated with
 your request, please provide this informgtion in the "Comments" section of eVetlecs or in the
 "Purpose" section of the SF-180 and fax it to our Customer Selvice Team at (314) 801{764. Our
 goal is to complete all urgent requests within two working days. However, in some instances we can
 complete requests the same day if necessary. Please contact our customer service staff at (314) 801-
 0800 if you have questions or require same day service. Due to ihe large number of calls we receive
 at this number, hold times are often long. However, once you reach a technician they will be happy to
 assist you wilh emergency service.

  lf your burial request invoJves internment at a Departnent of Veterans Affairs National Cemetery,
  contaci the National Cemetery Scheduling Office at (800) 535-1 117 or visit their website
  http:/Arvuno.cem.va.gov/cem/burial_benefits/. We work directly with the Veterans Affairs staff to obtain
  records to verify service for burial benefits. lf the veteran is not goihg to be inlerned at a National
  Cemetery, the requester may fax the SF-180 or signature page frop eVetRecs (including signature of
  thenextof kinandproof of death)totheCustomerServiceTeamat(314)801-07O4. lf yourrequest
  involves the burial of a Marine Corps veteran, you may also contact the USMC Liaison Officer at (314)
  538-2344.

 NOTE:The 1973 Fie at the National Personnel Records Center damaged or destroyed 1&18 million
 Army and Air Force records that documented the service history of former military personnel
 discharged from 19'12-1964. Although the information in many of these primary source records was
 either badly damaged or completely destroyed, often alternate record sources can be used to
 reconstruct the servie of the veterans impacted by the fire. Sometimes we are able to reconstruct ihe
 service promptly using alternaie records that are in our holdings, but other times we must request
 information from other external agencies for use in records reconstruction. ln some instances,
 therefore, requests that involve reconstruction efforts may take several weeks to a month to complete.

  "NARA ensurles, for the Citizen and the Public Seruanl for the President and the Congress and
  lhe Courls, ready access to essential evidence."


                                        Contaclus AccessiHlity PrivacyPolicy ruornoflnbrmationAct NoFEARAct USA,gov

                                      Reader.
       pDF files r€quir€ the free Adobe             rhe u.s' iletlooal ArchiYE ard Re.otds admlnlsir.tion
       More information on Adobe Acrobat PDF files b available otrSt$rl&taHlifrytffi272$nZ




http://www.archives.gov/veterans/military-service-records/standard,form-180.htnl
